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1                                        UNITED STATES DISTRICT COURT

2                                            DISTRICT OF NEVADA

3                                                         ***

4

5     UNITED STATES OF AMERICA,

6                           Plaintiff,                       2:14-cr-00242-JCM-VCF
                                                             ORDER
7     vs.
      ADRIAN ACEVEDO-HERNANDEZ, and J.
8     NEMIAS REYES MARIN,
9                            Defendants.
10

11          Before the court is the government's Motion to Amend Indictment to Correct Typographical Errors
12   (#110). On July 20, 2015, the court ordered that any oppositions to the government's Motion to Amend
13   Indictment to Correct Typographical Errors (#110) must be filed by July 24, 2015, and, if defendant failed
14   to file a timely response by July 24, 2015, the court will construe defendant's failure to respond as a consent
15   to the granting of the motion. (#120). To date, no opposition has been filed.
16          Accordingly,
17          IT IS HEREBY ORDERED that Motion to Amend Indictment to Correct Typographical Errors
18   (#110) is GRANTED.
19          DATED this 29th day of July, 2015.
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                                                                    CAM FERENBACH
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                                                                    UNITED STATES MAGISTRATE JUDGE

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